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                                       IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF MARYLAND

United States of America,                                     *

                                                              *                        1:20-cr-00337-GLR
      v.                                                                   Case No.
Stephen L. Snyder                                             *

      Defendant.                                              *

                                      ENTRY OF APPEARANCE IN A CRIMINAL CASE


TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
                                                                                      Stephen L. Snyder
             Enter my appearance as counsel in this case for the defendant,                                          .
I certify that: [check and complete one that applies]

             X            I am admitted to practice in this Court.

             X            I am a member in good standing of the bar of the highest state court of
                                        Maryland Court of Appeals

                          and familiar with the Federal Rules of Criminal Procedure, the Federal Rules of
                          Evidence, the Federal Rules of Appellate Procedure and the Local Rules of this
                          Court.

10/12/2021
Date                                                                Signature
                                                                      Devon L. Harman, Bar No. 21936
                                                                    Printed name and bar number
                                                                      2002 Clipper Park Road, Suite 108
                                                                      Baltimore, MD 21211
                                                                    Address
                                                                      dharman@rwllaw.com
                                                                    Email address
                                                                      410-768-8080
                                                                    Telephone number
                                                                        410-769-8811
                                                                    Fax number
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Please select your designation:

                    CJA               X   Retained           Public Defender           Pro Bono


NOTE:               Appearance of counsel may be withdrawn only with leave of Court. See Local Rule
                    201.3. Such leave is liberally granted if sought within 14 days of the defendant’s
                    initial appearance in this Court.


If you are not a member of this Court’s bar, email your completed form to
MDD_AttyAdmissions@mdd.uscourts.gov. Otherwise, please enter your own appearance in this
case in CM/ECF using the event Notice of Appearance.




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